Case 4:21-cv-00033-ALM Document 1-18 Filed 01/14/21 Page 1 of 3 PageID #: 332




EXHIBIT Q
Case 4:21-cv-00033-ALM Document 1-18 Filed 01/14/21 Page 2 of 3 PageID #: 333




                                                                                     May 19, 2020,
                                                                                         10:01 AM
Tuesday, May 19, 2020
Walls, Levi <LeviWalls@my.unt.edu>
to me
Dear Dr. Jackson,


Thanks for your email, and the detailed graphs. Since musical setting is, itself, a translation of
sorts, these pieces would seem to offer an especially interesting challenge (a Wellesz
translation of Rilke's translation of E.B. Browning, like a game of "telephone"). Technically,
there are four levels (or at least three and a half) to the process because Rilke didn't know
English and was assisted by his hostess in Capri. If you haven't already, there are a few articles
that you might find useful, especially in regards to the relationship between Rilke's and
Browning's texts. "Rilke's Translations of English, French, and Italian Sonnets" by
Furst: https://www.jstor.org/stable/pdf/4172561.pdf?refreqid=excelsior%3Ad54da7f70c99859
abb26629bc5b5c137
and "Translating Desire: Elizabeth Barrett-Browning and Rilke's women in love" by Catling
(although I couldn't manage to find this article, which appears in a German-language book
called Rilke und die Moderne). https://ueaeprints.uea.ac.uk/id/eprint/26337/ It seems like it
would be useful if it can be tracked down. I'm unsure of the state of ILL during this shutdown.


Part of the Furst article mentions that, because Rilke changes the structure of the sonnets he
translates, the resultant rhyme scheme "gains a musical and symbolical element" that wasn't
necessarily there before (132). According to the author, this change is due in part to Rilke's
alternating use of masculine and feminine rhymes, whereas Browning's rhymes are consistently
masculine. I wonder if the translations set by Wellesz feature similar changes.


Ophelia is well for the most part. My wife works 6pm-6am three days a week, so I am on my
own with her those nights. It can be pretty rough (because she cries more when Rebeca is
gone) so I often go without sleep. But it's a labor of love. I think, all in all, I'm doing well in
fatherhood. My biggest challenge, as I always thought it would be, is not to be too neglectful
because of work. It's a delicate balance.


I'm currently studying for my related field quals, so I'm buried in English literature texts. I think
more music theorists would do well to be more familiar with some of these literary theory



                                                                                     JACKSON000264
Case 4:21-cv-00033-ALM Document 1-18 Filed 01/14/21 Page 3 of 3 PageID #: 334




texts. A few that I've committed to reading are unrepentantly intentionalist though, especially
Hirsch's Validity in Interpretation (an ironic title, to be sure, because when our analyses are
absolutely beholden to the supposed intentions of authors, we might as well throw out the
possibility of interpretation). One of the novels I'm currently reading is Romola. Knowing your
interest in George Eliot and Vasari's Lives of the Artists, it seems like a book you would
appreciate.


This talk of English literature reminds me. Would you mind signing my degree plan? Just the
"major professor" line near the bottom of the front page. You'll have to do it electronically,
which should be straightforward using the "annotate" tool of whatever PDF program it opens
in. I attached it. Let me know if it gives you trouble. Thanks!


Regards,


   Levi Walls

     ReplyForward




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